Case 2:11-cr-00100-SAB   ECF No. 221   filed 05/22/12   PageID.797 Page 1 of 8
Case 2:11-cr-00100-SAB   ECF No. 221   filed 05/22/12   PageID.798 Page 2 of 8
Case 2:11-cr-00100-SAB   ECF No. 221   filed 05/22/12   PageID.799 Page 3 of 8
Case 2:11-cr-00100-SAB   ECF No. 221   filed 05/22/12   PageID.800 Page 4 of 8
Case 2:11-cr-00100-SAB   ECF No. 221   filed 05/22/12   PageID.801 Page 5 of 8
Case 2:11-cr-00100-SAB   ECF No. 221   filed 05/22/12   PageID.802 Page 6 of 8
Case 2:11-cr-00100-SAB   ECF No. 221   filed 05/22/12   PageID.803 Page 7 of 8
Case 2:11-cr-00100-SAB   ECF No. 221   filed 05/22/12   PageID.804 Page 8 of 8
